

ORDER

PER CURIAM:
AND NOW, this 5th day of February, 1996, James G. Gembarosky having been disbarred from the practice of law in the State of New York by Order of the Supreme Court of the State of New York, Appellate Division, Fourth Judicial Department, entered September 29, 1995; the said James G. Gemba-rosky having been directed on November 20, 1995, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that James G. Gembarosky is disbarred from the practice of law in this Commonwealth, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
